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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

ASHLEY HART,

               Plaintiff,

v.                                                   Case No. Case 3:14-cv-00983-TJC-JBT

AMERICAN MEDICAL COLLECTION AGENCY,

            Defendant.
_____________________________________/


                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, ASHLEY HART, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and all

parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 60 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                                     RESPECTFULLY SUBMITTED,

                                                 By: /s/ Shireen Hormozdi
                                                    Shireen Hormozdi
                                                    Krohn & Moss, Ltd
                                                    10474 Santa Monica Blvd., Suite 401
                                                    Los Angeles, CA 90025
                                                    Phone: (323) 988-2400 ext. 267
                                                    Fax: (866) 802-0021
                                                    Attorney for Plaintiff
                                                    FBN: 0882461
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                                    NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2015, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System


                                                             /s/ Shireen Hormozdi
                                                             Shireen Hormozdi
                                                             Attorney for Plaintiff




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                                  NOTICE OF SETTLEMENT
